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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                GRAND RAPIDS DIVISION

KEITH STARKE,
                                                      Case No. 1:15-cv-00832-JTN-ESC
         Plaintiff,
                                                      Hon. Janet T. Neff
v

FIFTH THIRD BANK,

         Defendant.


                      STIPULATION AND PROPOSED ORDER
                         OF DISMISSAL WITH PREJUDICE

         Plaintiff Keith Starke and Defendant Fifth Third Bank (“Fifth Third”), through their

respective attorneys, hereby stipulate and agree that the above-captioned action shall be

dismissed in its entirety with prejudice, and without costs or fees awarded to either party.

Dated: January 4, 2016

  /s/ Ryan Lee                                       /s/ Molly E. McManus
Ryan Lee                                           Molly E. McManus
Krohn & Moss, Ltd.                                 900 Fifth Third Center
10474 Santa Monica Blvd., Suite 405                111 Lyon Street, N.W.
Los Angeles, CA 90025                              Grand Rapids, MI 49503
(323) 988-2400 x241                                (616) 752-2196
Attorneys for Plaintiff                            mmcmanus@wnj.com
                                                   Attorneys for Defendant


                                              ORDER
         Based on the foregoing stipulation, IT IS SO ORDERED.


     Dated: January ____,
                     4 2016                     /s/ Janet T. Neff
                                              Hon. Janet T. Neff
                                              United States District Court Judge

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